                                                                                      08/26/2024


           IN THE SUPREME COURT OF THE STATE OF MONTANA                           Case Number: DA 22-0702


                                 No. DA 22-0702

 STATE OF MONTANA,

            Plaintiff and Appellee,

      v.

 JOHN DANIEL FAILS, JR.,

            Defendant and Appellant.

                                      ORDER

      Upon consideration Appellee’s motion for a 60-day extension of time,

and good cause appearing therefor,

      IT IS HEREBY ORDERED that Appellee is granted an extension of time

to and including November 1, 2024, within which to prepare, file, and serve its

response brief.




BF                                                                     Electronically signed by:
                                                                             Mike McGrath
                                                                Chief Justice, Montana Supreme Court
                                                                            August 26 2024
